                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


ALIGN TECHNOLOGY, INC.,                         §
                                                §
                       Plaintiff,               §
                                                §
v.                                              §    CIVIL NO. W-24-CV-00187-ADA-DTG
                                                §
CLEARCORRECT OPERATING,                         §
LLC, CLEARCORRECT HOLDINGS,                     §
INC., INSTITUT STRAUMANN AG,                    §
                                                §
                       Defendants.

                             ORDER ON DISCOVERY DISPUTE

       Three days before the deadline to serve its opening claim construction brief, Defendant

submitted a discovery dispute chart, which is attached as Exhibit 1 to this Order. See ECF No. 71

(Scheduling Order). Because of the extremely high volume of claims Plaintiff has asserted, De-

fendant requests that either Plaintiff be ordered to cut the number of asserted claims drastically

or that the parties be allowed to “brief 8 disputed terms for construction, in addition to the pro-

posed [22] means-plus-function issues.” Defendant also requests a hearing and that its opening

brief deadline be moved to three days after the Court issues an order on the dispute.

       Because Defendant raised this issue with the Court three days before its opening claim

construction brief is due, Defendant’s request for a hearing is DENIED. The parties were re-

quired to exchange claim terms on October 3, 2024, exchange proposed constructions on Octo-

ber 10, 2024, and exchange extrinsic evidence on October 17, 2024. See ECF No. 71. Defendant

had ample opportunity to raise this issue in advance of its briefing deadline.

       The Court is sympathetic, however, to the volume of patents and claims being asserted.

As such, the Court will permit the parties to brief up to eighteen (18) terms with page limits as

stated in the January 23, 2024, Standing Order Governing Proceedings (OGP) 4.4–Patent Cases.
       Further, in light of footnote 1 in the chart, the Court reminds the parties that the Schedul-

ing Order requires that Defendant’s opening claim construction brief include “any arguments that

any claim terms are indefinite.” Id. at 3.

       SIGNED this 29th day of October, 2024.




                                             DEREK T. GILLILAND
                                             UNITED STATES MAGISTRATE JUDGE




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                                          EXHIBIT 1

    Issue                ClearCorrect’s Position                      Align’s Position
Whether          Despite asserting 179 claims across      The Court rejected ClearCorrect’s pri-
there should     nine patents, Align has not agreed to    or request to force case narrowing, and
be modifica-     any proposed enlargement of the          the Court’s rules already reflect en-
tions to the     Court’s default limit on the number of   larged briefing. OGP, 7-8 (for 5+ pa-
presumed         claim terms. ClearCorrect has already    tents, allowing 12 terms).
limit on the     significantly narrowed its proposed
number      of   terms.1 In view of the current October   Seeking reconsideration, ClearCorrect
terms      for   31 opening Markman brief deadline,       again requests early narrowing. Alter-
construction.    ClearCorrect can no longer wait for      natively, ClearCorrect seeks to broaden
                 Align.                                   the terms for construction by 250%
                                                          and delay its opening brief. The Court
                 Align should reduce to no more than should deny both requests.
                 75 asserted claims by October 29.
                 Align could undoubtedly shrink the Number of Terms. ClearCorrect con-
                 number of terms-at-issue by narrowing tends 22 terms are indefinite. With its
                 its case, particularly where many terms “8 disputed terms,” ClearCorrect seeks
                 appear in just a handful of asserted leave to brief 30 terms.
                 claims; Align’s argument here that 14
                 terms appear in just two claims of one Blaming Align, ClearCorrect argues
                 asserted patent confirms this. Courts that Align “could undoubtably shrink
                 require pre-Markman claim narrowing the number of terms” that ClearCor-
                 for this reason. See Rule 26(f) Report, rect proposed. The Court has rejected
                 Dkt. 59, 19-20 (ClearCorrect collecting arguments exactly like ClearCorrect’s.
                 cases).
                                                          In SitePro, Inc. v. WaterBridge Res.,
                 Align has refused to meaningfully nar- LLC, the defendant sought leave to
                 row its case, dropping only 4 of 183 brief extra terms via a dispute chart
                 claims to date. And although the Court and, when that failed, briefed them an-
                 previously declined to order narrow- yway.          No. 23-cv-115-ADA-DTG,
                 ing, this dispute confirms that such 2023 WL 10366528, at *1 (W.D. Tex.
                 limits are necessary now. Align has Nov. 21, 2023). It then argued that
                 not identified any specific discovery it Section 112(f) justified briefing 20
                 needs to narrow, nor could it: it has means-plus-function terms. Id., ECF
                 had months of discovery, including No. 60 at 2-4. Deeming those argu-
                 ClearCorrect’s invalidity contentions ments “inadequate,” the Court limited
                 and core technical production. Align construction to 15 terms. Id., 2023
                 should not be allowed both assert an WL 10366528, at *1–2. As in SitePro,
                 unwieldy number of claims and refuse ClearCorrect is not entitled to brief
                 to adjust the default Markman limits.    every conceivable issue.
                 To the extent the Court does not order Kemco does not help ClearCorrect.
                 Align to narrow its claims now, Kemco dealt with how—not when—to
                 ClearCorrect requests that the Court construe a 112(f) term. It is “well es-
                 authorize the parties to brief 8 disputed

                                                3
terms, in addition to proposed means- tablished” that courts may “limit[] the
plus-function terms.                       number of terms they construe at any
                                           one pretrial proceeding.” Eon CorpIP
First, the number of terms ClearCor- Holdings LLC v. Aruba Networks Inc,
rect proposes is reasonable:               62 F. Supp. 3d 942, 953 (N.D. Cal.
                                           2014) (construing “six terms” parties
• 22 are means-plus-function terms identified as “likely to be most signifi-
    subject to § 112 ¶ 6 that Align does cant to resolving the parties’ dispute”).
    not dispute the Court “must con-
    strue.” Kemco Sales v. Control ClearCorrect’s request is prejudicial.
    Papers, 208 F.3d 1352, 1360 (Fed. Even if its arguments overlap, that
    Cir. 2000); 35 U.S.C. §112(f) does not justify briefing 2.5x the de-
    (“shall construe”).                    fault number. ClearCorrect is wrong
• Of the only 8 remaining disputed that Align “categorical[ly] rejected any
    terms, 4 recite particular treatment potential expansion of the presumed
    “pattern[s]” and raise virtually limit.” After ClearCorrect disclosed 55
    identical Markman issues.              terms, Align suggested it might brief
                                           up to 18—if ClearCorrect narrowed its
SitePro does not help Align because: terms to 18 before the claim construc-
(1) the defendant “did not seek leave of tion exchange. ClearCorrect declined.
Court to” exceed the presumed limits
before submitting its brief (ClearCor- Early Claim Narrowing. The sched-
rect has); nonetheless (2) the Court uling order sets two claim narrowing
granted “an expansion of the presump- dates. ECF No. 71 at 4. Those dates
tive limit on terms” given the number account for many inputs into that deci-
of asserted patents/claims (fewer than sion—the Markman order, final con-
here). 2023 WL 10366528, at *1-2. tentions, and fulsome discovery. To
Eon, an out-of-district case, is similarly modify those dates, ClearCorrect must
unhelpful to Align where the court ad- show good cause. FRCP 16(b)(4).
dressed the disputed “means” terms. Neither its earlier nor its latest request
62 F. Supp. 3d at 948-50.                  does so. (ECF No. 71 at 4.)
Second, Align’s categorical rejection  ClearCorrect’s argument—that Align’s
of any potential expansion of the pre- asserted claims are excessive—fails.
sumed limit is inconsistent with the   13 claims, including their parent
OGP, which contemplates: “the Court    claims, contain all of ClearCorrect’s
[may] grant[] leave for additional     proposed terms.          To illustrate,
terms to be construed” beyond the pre- ClearCorrect proposes 14 terms from
sumptive limit. OGP(v.4.4), 7, 14.     ’444 claims 18 and 20 (inclusive of
Such modifications are appropriate     their parent claims). Even if Align re-
here.                                  duced its claims to 75, all disputed
                                       terms would remain. It is the number
Requested Relief. Order that “Align
                                       of ClearCorrect’s terms that is exces-
shall narrow the number of asserted
                                       sive, not Align’s asserted claims.
claims to no more than 75 by no later
than October 29.” Alternatively, Order
                                       ClearCorrect misleadingly claims
that “the parties are granted leave to

                                4
brief 8 disputed terms for construction,   Align has had “months of discovery.”
in addition to the proposed means-         The parties dispute whether ClearCor-
plus-function issues. ClearCorrect’s       rect’s technical production is suffi-
opening Markman brief shall be filed       cient. Apart from scheduling order-
three business days after the Court’s      mandated productions, ClearCorrect
Order.”                                    has yet to produce a single document.

                                           Further, ClearCorrect states it “has
                                           agreed to defer” other indefiniteness
                                           arguments. Align does not agree that
                                           ClearCorrect may argue indefiniteness
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  Given the Court’s presumptive limits later.       Nor does Align agree to
at the Markman phase and Align’s ClearCorrect’s last-minute request to
general unwillingness to agree to ad- extend the briefing schedule.
dress additional terms at this time,
ClearCorrect has agreed to defer and Requested Relief. Deny ClearCor-
not to address at this time its argu- rect’s requested relief and order
ments that certain terms of the Material “ClearCorrect must immediately dis-
Patents are indefinite. To be clear, close to Align what 12 terms ClearCor-
ClearCorrect is not withdrawing those rect will brief.”
indefiniteness positions, and reserves
the right to raise those issues at the ap-
propriate time as the case proceeds.




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